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 7 United States of America
 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-0239 MCE
12
                                   Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                             v.                           ORDER
14
     JOHN BREWER,                                         DATE: October 19, 2017
15   BRENT VINCH, and                                     TIME: 10:00 a.m.
     LORAINE DIXON                                        COURT: Hon. Morrison C. England, Jr.
16
                                   Defendants.
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18
                                                  STIPULATION
19
            1.       By previous order, this matter was set for status on October 19, 2017.
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            2.       By this stipulation, defendants now move to continue the status conference until
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     December 14, 2017, and to exclude time between October 19, 2017, and December 14, 2017, under
22
     Local Code T4.
23
            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     The government has represented that the discovery associated with this case
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            includes business records and documents, including emails, audio recording of interviews, and
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            government records. To date, the government has produced discovery on hard drives to the
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            defense wherein the digital evidence is comprised of over 100,000 separate images.
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                     b)     Counsel for defendants desire additional time review the discovery produced by
      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             1
            Case 2:16-cr-00239-MCE Document 45 Filed 10/18/17 Page 2 of 3


 1        the government, conduct additional investigation, and discuss the case with their respective

 2        clients. Additionally, Loraine Dixon’s lawyer was recently appointed by the Court in June, and

 3        requires more time to review the voluminous discovery and conduct additional investigation.

 4                c)      Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7                d)      The government does not object to the continuance.

 8                e)      Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., within which trial must commence, the time period of October 19, 2017 to December 14,

13        2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

14        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

15        of the Court’s finding that the ends of justice served by taking such action outweigh the best

16        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
                 Case 2:16-cr-00239-MCE Document 45 Filed 10/18/17 Page 3 of 3


 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: October 16, 2017                                   PHILLIP A. TALBERT
 6                                                             United States Attorney
 7
                                                               /s/ JARED C. DOLAN
 8                                                             JARED C. DOLAN
                                                               Assistant United States Attorney
 9
10 Dated: February 16, 2017                                    /s/ MICHAEL
                                                               SCARBOROUGH
11                                                             MICHAEL SCARBOROUGH
12                                                             Counsel for Defendant
                                                               JOHN BREWER
13
14 Dated: October 16, 2017                                     /s/ NANCI CLARENCE
                                                               NANCI CLARENCE
15                                                             Counsel for Defendant
                                                               BRENT VINCH
16
17
     Dated: October 16, 2017                                   /s/ JEROME PRICE
18                                                             JEROME PRICE
                                                               Counsel for Defendant
19                                                             LORAINE DIXON

20
                                                       ORDER
21
            IT IS SO ORDERED.
22
     Dated: October 17, 2017
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
